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                DISMISSAL of COMPLAINT or REMOVAL PROCEEDINGS
                                                      United States District Court
                                                     Southern District of New York




Mag. Dkt. No. 23 Mag. 3028                                                         Date 2/27/2025

     USAO No. 2023R00468

The Government respectfully requests the Court to dismiss without prejudice the

 ✔ Complaint                       Removal Proceedings in


United States v. Jayleen Mota


The Complaint/Rule 40 Affidavit was filed on                  4/17/2023

      U.S. Marshals please withdraw warrant




                                                                     TIMOTHY LY Digitally signed by TIMOTHY LY
                                                                                Date: 2025.02.27 09:15:15 -05'00'

                                                                            ASSIST ANT UNIT ED ST AT ES AT T ORNEY
                                                                              (handwritten or digital signature)



                                                                              (print name if signature handwritten)
SO ORDERED:

DAT E:



                                                                            UNIT ED ST AT ES MAGIST RAT E J UDGE




Distribution: Court; U.S. Marshals; Pretrial Services; AUSA                                                        2020.07.13
